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                   Exhibit 1
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9

10                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                     SAN FRANCISCO DIVISION
12
     META PLATFORMS INC., et al.,                    Case No. 3:19-cv-07071-SI
13
                   Plaintiffs,
14                                                   DEFENDANT XIAMEN 35.COM
            v.                                       TECHNOLOGY CO., LTD.’S FURTHER
15
                                                     AMENDED AND SUPPLEMENTAL
16   ONLINENICINC., et al.,                          OBJECTIONS AND RESPONSES TO
                                                     PLAINTIFFS’ FIRST SET OF
17                 Defendants.                       INTERROGATORIES PER DISCOVERY
                                                     ORDER D.E. 286; AND UPDATED
18                                                   APPENDIX A
19
                                                     CONTAINS CONFIDENTIAL MATERIAL
20                                                   DESIGNATED UNDER THE
                                                     PROTECTIVE ORDER
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     Case No. 3:19-cv-07071-SI                           DEF’S FURTHER AMENDED RESPS TO
                                                         PLAINTIFFS’ FIRST SET OF ROGS
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1           4.     Defendant objects to the Interrogatories to the extent that they seek

2    information in the possession, custody, or control of individuals or entities other than

3    Defendant on the grounds that each such Interrogatory is unduly burdensome and

4    oppressive, and such information is equally available to Plaintiffs.

5           5.     Defendant objects to these Interrogatories as largely compound.

6           6.     Each of the foregoing General Objections is a continuing objection, which

7    Defendant incorporates by reference into each specific response to each of the

8    Interrogatories below as if fully set forth herein.

9          AMENDED AND SUPPLEMENTAL RESPONSES TO INTERROGATORIES

10   INTERROGATORY NO. 2:
11          Describe the business, corporate, working or other relationship between 35.CN and
12   ONLINENIC, including the services which 35.CN performs for or on behalf of ONLINENIC,
13   and any monetary payment which 35.CN receives for those services.
14   FURTHER RESPONSE TO INTERROGATORY NO. 2:
15          Defendant objects to this Interrogatory as compound.
16          Subject to and without waiving the foregoing objections, Defendant responds as
17   follows: 35.CN and OnlineNIC have a working relationship wherein 35.CN renders
18   outsourcing services to OnlineNIC in exchange for payment.
19          In particular, 35.CN provides facilities and services to OnlineNIC pursuant to the
20   Outsourcing Agreement dated Jan. 1, 2014. Defendant provides OnlineNIC services,

21   including website design; new product research and development; system maintenance;

22   Technical Support and technical consultation; marketing, sales, and support services; and

23   other services to which Defendant and OnlineNIC agree, all at the direction of OnlineNIC.

24   In addition to these services listed, as part of the Outsourcing Agreement, 35.CN provides

25   an office for OnlineNIC in a building where 35.CN has separate offices. Payment is made

26   pursuant to the Outsourcing Agreement for the services.

27          Defendant objects to this Interrogatory as duplicative of Nos. 15 and 16 below.

28   Further, Defendant supplements its response with the following information:
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                                                   3          PLAINTIFFS’ FIRST SET OF ROGS
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1           •   2009, $            , Payee 35.CN, Outsourcing Service

2           •   2010, $            , Payee 35.CN, Outsourcing Service

3           •   2011, $            , Payee 35.CN, Outsourcing Service

4           •   2012, $            , Payee 35.CN, Outsourcing Service

5           •   2013, $            , Payee 35.CN, Outsourcing Service

6           •   2014, $            , Payee 35.CN, Outsourcing Service

7           •   2015, $            , Payee 35.CN, Outsourcing Service

8           •   2015, $           , Payee 35.CN, Site Outsourcing

9           •   2016, $            , Payee 35.CN, Outsourcing Service

10          •   2017, $            , Payee 35.CN, Outsourcing Service

11          •   2017, $          , Payee 35. CN, Site Outsourcing
12          •   2017, $           , Payee Verisign, Loan from OnlineNIC to 35.CN

13          •   2017, $           , Payee Verisign, Loan from OnlineNIC to 35.CN

14          •   2018, $            , Payee 35.CN, Outsourcing Service

15          •   2018, $           , Payee Verisign, Loan from OnlineNIC to 35.CN

16          •   2019, $            , Payee 35.CN, Outsourcing Service

17          •   2020, $            , Payee 35.CN, Outsourcing Service

18          THIS RESPONSE IS CONFIDENTIAL.

19

20   INTERROGATORY NO. 6:

21          IDENTIFY all employees of 35.CN for each year since 2009 that performed work for

22   ONLINENIC and describe the work each of these employees performed.

23   FURTHER RESPONSE TO INTERROGATORY NO. 6:

24          Defendant objects to this Interrogatory as compound and to the extent Chinese law

25   bars the provision of responsive information, including as it relates to private information

26   of third-party individuals. Defendant is not withholding information based on this objection.

27          Subject to and without waiving the foregoing objections, Defendant responds as

28   follows: Various individuals performed work pursuant to the outsourcing agreement
     Case No. 3:19-cv-07071-SI                             DEF’S FURTHER AMENDED RESPS TO
                                                    4      PLAINTIFFS’ FIRST SET OF ROGS
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1    INTERROGATORY NO. 8:

2           IDENTIFY all employees of 35.CN who were involved in, or participated in, the

3    production of discovery or the destruction of evidence in this case as described by the

4    Special Discovery Master’s Data Destroyed or Withheld Report.

5    FURTHER RESPONSE TO INTERROGATORY NO. 8:

6           Defendant objects to this Interrogatory as argumentative and premised on a

7    disputed fact, including as to the characterization “destruction of evidence.”

8           Subject to and without waiving the foregoing objections, Defendant responds as

9    follows: Defendant states that 35.CN did not direct any employees during any purported

10   “destruction of evidence,” as those employees were working at the direction of OnlineNIC.

11   Nonetheless, documents have been produced in this litigation with individuals’ information.

12          Further, Defendant’s employees who have participated in producing discovery in

13   this case are the following, understanding that OnlineNIC had discretion to use individuals

14   under the staffing agreement, and Defendant disputes any “destruction of evidence” (in

15   fact, no Defendant has accepted the discovery findings as asserted by Plaintiffs):

16          •   Leon Freeman

17          •   Saul Zeng

18          •   Ivan Wang

19          •   Luke Wayne

20          •   Carrie Yu

21          THIS RESPONSE IS CONFIDENTIAL.

22

23   INTERROGATORY NO. 13:

24          Describe the reasons why the individuals identified as lenders of money to

25   ONLINENIC in Exhibits 5.1 and 5.2 to the Responses Of OnlineNIC, Inc. and Domain ID

26   Shield To Plaintiff Facebook, Inc.’s Special Court Ordered Interrogatories, attached as

27   Exhibit 1 to these Interrogatories, loaned money to ONLINENIC, and their business or

28   personal relationship, if any, with 35.CN and/or GONG.
     Case No. 3:19-cv-07071-SI                            DEF’S FURTHER AMENDED RESPS TO
                                                 8        PLAINTIFFS’ FIRST SET OF ROGS
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1    FURTHER RESPONSE TO INTERROGATORY NO. 13:

2           Defendant objects to this Interrogatory as confusing, compound, vague, and

3    ambiguous, including as to “individuals identified as lenders of money” and “business or

4    personal relationship.” Defendant objects to this Interrogatory on grounds of proportionality

5    as the discovery references information and documents provided by OnlineNIC.

6           Subject to and without waiving the foregoing objections, Defendant responds as

7    follows: Defendant is unaware of the reasons and intent of third parties. Nonetheless,

8    Defendant refers to OnlineNIC’s Exhibit 5.1, which is referenced in this Interrogatory and

9    stated: Due to China's foreign currency control policy, individual lenders could not transfer

10   funds to OnlineNIC in the US. These loans were made by these individuals through a

11   conduit, Kennedy Legal. See Exhibit 5.2 for list of individual lenders.

12          Further, this Interrogatory seeks loan information regarding OnlineNIC and third

13   parties unrelated to Defendant; and the Discovery Order only requests information to the

14   extent any listed individual is or was a 35.CN employee.

15          After a reasonable search, Defendant lacks knowledge to supplement its response.

16          THIS RESPONSE IS CONFIDENTIAL.

17

18   INTERROGATORY NO. 14:

19          Describe the reasons why the individuals identified as payees for loans made to
20   ONLINENIC in Exhibit 6 to the Responses Of OnlineNIC, Inc. and Domain ID Shield To

21   Plaintiff Facebook, Inc.’s Special Court Ordered Interrogatories, attached as Exhibit 2 to

22   these Interrogatories, were repaid on loans made by others, and their business or personal

23   relationship, if any, with 35.CN and GONG.

24   FURTHER RESPONSE TO INTERROGATORY NO. 14:

25          Defendant objects to this Interrogatory as confusing, compound, vague, and

26   ambiguous, including as to “individuals identified as lenders of money” and “business or

27   personal relationship.” Defendant objects to this Interrogatory on grounds of proportionality

28   as the discovery references information and documents provided by OnlineNIC.
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                                                  9       PLAINTIFFS’ FIRST SET OF ROGS
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1           Subject to and without waiving the foregoing objections, Defendant responds as

2    follows: Defendant is unaware of the reasons and intent of third parties. Nonetheless,

3    Defendant refers to OnlineNIC’s Exhibit 6, which is referenced in this Interrogatory and had

4    a “notes” column that outlined responsive information to this Interrogatory.

5           Further, this Interrogatory seeks loan information regarding OnlineNIC and third

6    parties unrelated to Defendant; and the Discovery Order only requests information to the

7    extent any listed individual is or was a 35.CN employee.

8           After a reasonable search, Defendant lacks knowledge to supplement its response.

9           THIS RESPONSE IS CONFIDENTIAL.

10

11   INTERROGATORY NO. 15:

12          Explain in detail all payments made by ONLINENIC to 35.CN since 2007, including
13   the date, amount and reason for the payment.
14   FURTHER RESPONSE TO INTERROGATORY NO. 15:
15          Defendant objects to this Interrogatory as compound and on grounds of
16   proportionality, including as to timeframe.
17          Subject to and without waiving the foregoing objections, Defendant responds as
18   follows: Documents have been produced in this litigation with any such information.
19          Further, Defendant supplements its response with the following information:
20          •   2009, $           , Payee 35.CN, Outsourcing Service

21          •   2010, $           , Payee 35.CN, Outsourcing Service

22          •   2011, $           , Payee 35.CN, Outsourcing Service

23          •   2012, $           , Payee 35.CN, Outsourcing Service

24          •   2013, $           , Payee 35.CN, Outsourcing Service

25          •   2014, $           , Payee 35.CN, Outsourcing Service

26          •   2015, $           , Payee 35.CN, Outsourcing Service

27          •   2015, $          , Payee 35.CN, Site Outsourcing

28          •   2016, $           , Payee 35.CN, Outsourcing Service
     Case No. 3:19-cv-07071-SI                             DEF’S FURTHER AMENDED RESPS TO
                                                   10      PLAINTIFFS’ FIRST SET OF ROGS
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1           •     2017, $          , Payee 35.CN, Outsourcing Service

2           •     2017, $        , Payee 35. CN, Site Outsourcing

3           •     2017, $         , Payee Verisign, Loan from OnlineNIC to 35.CN

4           •     2017, $         , Payee Verisign, Loan from OnlineNIC to 35.CN

5           •     2018, $          , Payee 35.CN, Outsourcing Service

6           •     2018, $         , Payee Verisign, Loan from OnlineNIC to 35.CN

7           •     2019, $          , Payee 35.CN, Outsourcing Service

8           •     2020, $          , Payee 35.CN, Outsourcing Service

9           THIS RESPONSE IS CONFIDENTIAL.

10

11   INTERROGATORY NO. 16:

12          Explain in detail all payments made by 35.CN to or on behalf of ONLINENIC since
13   2007, including the date, amount and reason for the payment.
14   FURTHER RESPONSE TO INTERROGATORY NO. 16:
15          Defendant objects to this Interrogatory on grounds of proportionality, including as to
16   timeframe.
17          Subject to and without waiving the foregoing objections, Defendant responds as
18   follows: Documents have been produced in this litigation with any such information.
19          Further, Defendant states that discovery and investigation have been ongoing; and
20   Defendant supplements its response with the following information:

21          •   2018, $           , Payee OnlineNIC, Return of Loans by 35. CN to OnlineNIC

22          •   2015, $          , Payee OnlineNIC, Purchase Payments for US-Based Services

23          •   2016, $     , Payee OnlineNIC, Purchase Payments for US-Based Services

24          •   2017, $          , Payee OnlineNIC, Purchase Payments for US-Based Services

25          •   2018, $          , Payee OnlineNIC, Purchase Payments for US-Based Services

26          •   2019, $           , Payee OnlineNIC, Purchase Payments for US-Based Services

27          •   2020, $           , Payee OnlineNIC, Purchase Payments for US-Based Services

28              (minus $           refund)
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                                                  11      PLAINTIFFS’ FIRST SET OF ROGS
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1           •   2021, $          , Payee OnlineNIC, Purchase Payments for US-Based Services

2           THIS RESPONSE IS CONFIDENTIAL.

3

4    Respectfully Submitted,

5    Dated: December 22, 2022                   KRONENBERGER ROSENFELD, LLP

6                                               By:
7                                                           Karl S. Kronenberger

8                                               Attorneys for Defendant Xiamen 35.com
                                                Technology Co., Ltd.
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     Case No. 3:19-cv-07071-SI                           DEF’S FURTHER AMENDED RESPS TO
                                                12       PLAINTIFFS’ FIRST SET OF ROGS
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